91 F.3d 151
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.Melvin B. COLEY, Plaintiff-Appellant,v.J.C. KEENEY, et al., Defendants-Appellees.
    No. 96-15131.
    United States Court of Appeals, Ninth Circuit.
    Submitted June 25, 1996.*Decided June 28, 1996.
    
      Before:  NOONAN, LEAVY and TASHIMA, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      This appeal from the denial of a motion for preliminary injunction comes to us for review under Ninth Circuit Rule 3-3.  We have jurisdiction under 28 U.S.C. § 1292(a)(1), and we affirm.
    
    
      3
      Our sole inquiry is whether the district court abused its discretion in denying preliminary injunctive relief.  See Gregorio T. v. Wilson, 59 F.3d 1002, 1004-05 (9th Cir.1995).  The record before us shows that the court did not rely on an erroneous legal premise or abuse its discretion in concluding that appellant's showing of probable success on the merits and likelihood of irreparable harm was insufficient to warrant preliminary injunctive relief.  See id.   The court's factual findings are not clearly erroneous.  See id.   Accordingly, the denial of a preliminary injunction is
    
    
      4
      AFFIRMED.
    
    
      
        *
         The panel finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a);  9th Cir.R. 34-4;  9th Cir.R. 3-3(d)
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    